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 6

 7                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 8
 9    UNITED STATES OF AMERICA,
10                          Plaintiff,
                                                            Case No. 2:12-cr-0083-APG-GWF
11           v.

12                                                          ORDER TO GRANT EXTENSION OF TIME
      ROBERT KEPHART,
13
                            Defendant.
14

15          This matter comes before the Court on the Government’s motion for an extension of time to
16 file its briefing concerning the issue of restitution. The defendant does not object to such an

17
     extension. The Court hereby finds good cause to grant an extension of time.
18
                                                   ORDER
19
            IT IS THEREFORE ORDERED that the current briefing schedule be vacated. The
20
                                              September 2
21 Government shall have to and including _______________________, 2014 to file any motion or
                                                      September 16, 2014
22 brief. The Defendant shall have to and including _______________________ to file any response.

23                                 22nd day of August, 2014.
            IT IS SO ORDERED this ______
24
                                                           ________________________________
25                                                         HON. ANDREW P. GORDON
                                                           UNITED STATES DISTRICT JUDGE
26



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